       Case 2:05-cr-00161-KJM Document 31 Filed 09/13/05 Page 1 of 2


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 4

 5   Attorney for Defendant
     AARON WARREN
 6

 7                                    UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                    )       Case No. Cr. S-05-00161 FCD
                                                  )
11                          Plaintiff,            )
                                                  )       SUBSTITUTION OF ATTORNEY
12                          v.                    )
                                                  )
13   AARON WARREN,                                )
                                                  )
14                  Defendant.                    )
                                                  )
15
            It is respectfully requested that John P. Brennan be relieved as attorney of record and Scott
16
     L. Tedmon, 717 K Street, Suite 224, Sacramento, California 95814, telephone number (916) 441-
17
     4540, be substituted in as counsel for defendant Aaron Warren in the above-entitled case.
18
     DATED: September 9, 2005                     Respectfully submitted,
19                                                BRENNAN & TEJEDA

20
                                                  JOHN P. BRENNAN
21
     I accept the substitution.
22
     DATED: September 9, 2005                     LAW OFFICES OF SCOTT L. TEDMON
23

24                                                SCOTT L. TEDMON

25   I consent to the substitution.

26   DATED: September 9, 2005

27                                                AARON WARREN
                                                  Defendant
28
                                                  - 1 -
       Case 2:05-cr-00161-KJM Document 31 Filed 09/13/05 Page 2 of 2


 1                                    ORDER

 2   IT IS SO ORDERED.

 3   DATED: September 13, 2005

 4                                      /s/ Frank C. Damrell Jr.
                                        FRANK C. DAMRELL, JR.
 5                                      United States District Judge

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